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                               EXHIBIT Y


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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State of Alabama                                                                                                  Case Number
Unified Judicial System                             AFFIDAVIT OF SUBSTANTIAL
Form C-10
Page 1 of 2                 Rev.2/95
                                                      HARDSHIP AND ORDER
IN THE_______________________________________COURT OF ________________________________________, ALABAMA
                        (Circuit, District, or Municipal)                             (Name of County or Municipality)

STYLE OF CASE: _____________________________________________v. ___________________________________________
                                Plaintiff(s)                                 Defendant(s)
TYPE OF PROCEEDING:___________________________CHARGE(s) (if applicable):__________________________________

      CIVIL CASE-- I, because of substantial hardship, am unable to pay the docket fee and service fees in this case. I request
     that payment of these fees be waived initially and taxed as costs at the conclusion of the case.
      CIVIL CASE-- (such as paternity, support, termination of parental rights, dependency) – I am financially unable to hire an
      attorney and I request that the court appoint one for me.
     CRIMINAL CASE-- I am financially unable to hire an attorney and request that the court appoint one for me.
     DELINQUENCY/NEED OF SUPERVISION-- I am financially unable to hire an attorney and request that the court appoint
      one for my child/me

                                                                      AFFIDAVIT
SECTION 1.

1.    INDENTIFICATION
      Full name _____________________________________________________________________ Date of Birth _________________________
      Spouse’s full name (if married) ________________________________________________________________________________________
      Complete home address ______________________________________________________________________________________________
      __________________________________________________________________________________________________________________
      Number of people living in household ____________________________________________________________________________________
      Home telephone number _________________________________________________
      Occupation/Job_________________________________ Length of employment __________________________________________________
      Driver’s license number __________________________________ *Social Security Number_________________________________________
      Employer_____________________________________________ Employer’s telephone number_____________________________________
      Employer’s address __________________________________________________________________________________________________
      __________________________________________________________________________________________________________________
2.    ASSISTANCE BENEFITS
      Do you or anyone residing in your household receive benefits from any of the following sources? (if so, please check those which
      apply)
        AFDC        Food Stamps                             SSI   Medicaid        Other___________________________________________
3.    INCOME/EXPENSE STATEMENT

      Monthly Gross Income:
          Monthly Gross Income                                                    $________________
          Spouse’s Monthly Gross Income (unless a martial offense)                 ________________
          Other Earnings: Commissions, Bonuses, Interest Income, etc,              ________________
          Contributions from Other People Living in Household                      ________________
          Unemployment/Workmen’s Compensation,
             Social Security, Retirements, etc,                                    ________________
          Other Income (be specific) _______________________                       ________________

                                 TOTAL MONTHLY GROSS INCOME                                                              $____________________


      Monthly Expenses:
          A. Living Expenses                                                       $________________
              Rent/Mortgage                                                         ________________
             Total Utilities: Gas, Electricity, Water, etc                          ________________
             Food                                                                   ________________
             Clothing                                                               ________________
             Health Care/Medical                                                    ________________
             Insurance                                                              ________________
             Car Payment(s)/Transportation Expenses                                ________________
             Loan Payment(s)                                                        ________________

*OPTIONAL
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                                                    AFFIDAVIT OF SUBSTANTIAL HARDSHIP AND ORDER
       Monthly Expenses:(cont’d page1)
             Credit Card Payment(s)                                                  ________________
             Educational/Employment Expenses                                         ________________
             Other Expenses (be specific) _____________________                      ________________
             _____________________________________________                           ________________
                              Sub-Total                                                                         A $____________________

        B.      Child Support Payment(s)/Alimony                                     $________________
                             Sub-Total                                                                          B $____________________
        C.      Exceptional Expenses                                                 $________________

                          TOTAL MONTHLY EXPENSES (add subtotals from A & B monthly only)                           $____________________

         Total Gross Monthly Income Less total monthly expenses:

                                          DISPOSABLE MONTHLY INCOME                                                $____________________


4.     LIQUID ASSETS:
            Cash on Hand/Bank (or otherwise available such as stocks,
            bonds, certificates of deposit)                                        $_________________
            Equity in Real Estate (value of properly less what you owe)             _________________
            Equity in Personal Property, etc. (such as the value of
            motor vehicles, stereo, VCR, furnishing, jewelry, tools,                 _________________
            guns, less what you owe)
            Other (be specific)
            Do you own anything else of value?       Yes No
            (land, house, boat, TV, stereo, jewelry)                                _________________
            If so, describe _____________________________________
            _________________________________________________
                                   TOTAL LIQUID ASSETS                                                              $____________________


5.    Affidavit/Request
       I swear or affirm that the answers are true and reflect my current financial status. I understand that a false statement or answer to
       any question in the affidavit may subject me to the penalties of perjury, I authorize the court or its authorized representative to obtain
       records of information pertaining to my financial status from any source in order to verify information provide by me. I further
       understand and acknowledge that, if the court appoints an attorney to represent me, the court may require me to pay all or part of
       the fees and expenses of my court-appointed counsel,

       Sworn to and subscribed before me this
                                                                                   ________________________________________________
                                                                                   Affiant’s Signature
       _________ day of ___________________, __________

       _____________________________________________                                _________________________________________________
       Judge/Clerk/Notary                                                           Print or Type Name

                                                             ORDER OF COURT
SECTION II
       IT IS THEREFORE, ORDERED, AND ADJUDGED BY THE COURT AS FOLLOWS:
          Affiant is not indigent and request is DENIED.
          Affiant is partially indigent and able to contribute monetarily toward his/her defense; therefore defendant is ordered to pay
          $_____________ towards the anticipated cost of appointed counsel. Said amount is to be paid to the clerk of court or as otherwise
          ordered and disbursed as follows: ______________________________________________________________________________
          Affiant is indigent and request is GRANTED.
             The prepayment of docket fees is waived.

       IT IS FURTHER ORDERED AND ADJUDGED that _____________________________ is hereby appointed as counsel to represent
       affiant.
       IT IS FURTHER ORDERED AND ADJUDGED that the court reserves the right and may order reimbursement of attorney’s fees and
       expenses, approved by the court and paid to the appointed counsel, and costs of court.
       Done this________________________ day of ________________________________________


                                                                                   ________________________________________________
                                                                                   Judge
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State of Alabama                                                                                                         Case Number
Unified Judicial System
                                              AFFIDAVIT OF SUBSTANTIAL HARDSHIP
Form C-10A
Page 1 of 2               Rev.2/95


IN THE_______________________________________COURT OF ________________________________________, ALABAMA
                       (Circuit, District, or Municipal)                             (Name of County or Municipality)

STYLE OF CASE: _____________________________________________v. ___________________________________________
                                Plaintiff(s)                                 Defendant(s)
TYPE OF PROCEEDING:___________________________CHARGE(s) (if applicable):__________________________________
   CIVIL CASE-- I, because of substantial hardship, am unable to pay the docket fee and service fees in this case. I request
  that payment of these fees be waived initially and taxed as costs at the conclusion of the case.
   CIVIL CASE-- (such as paternity, support, termination of parental rights, dependency) – I am financially unable to hire an
   attorney and I request that the court appoint one for me.
  CRIMINAL CASE-- I am financially unable to hire an attorney and request that the court appoint one for me.
  DELINQUENCY/NEED OF SUPERVISION-- I am financially unable to hire an attorney and request that the court appoint
   one for my child/me

                                                                     AFFIDAVIT
SECTION 1.

1.        IDENTIFICATION
     Full name _____________________________________________________________________ Date of Birth _________________________
     Spouse’s full name (if married) ________________________________________________________________________________________
     Complete home address ______________________________________________________________________________________________
     __________________________________________________________________________________________________________________
     Number of people living in household ____________________________________________________________________________________
     Home telephone number _________________________________________________
     Occupation/Job_________________________________ Length of employment __________________________________________________
     Driver’s license number __________________________________ *Social Security Number_________________________________________
     Employer_____________________________________________ Employer’s telephone number_____________________________________
     Employer’s address __________________________________________________________________________________________________
     __________________________________________________________________________________________________________________
2.        ASSISTANCE BENEFITS
     Do you or anyone residing in your household receive benefits from any of the following sources? (if so, please check those which
     apply)
       AFDC                Food Stamps                     SSI   Medicaid        Other___________________________________________

3.        INCOME/EXPENSE STATEMENT

     Monthly Gross Income:
         Monthly Gross Income                                                    $________________
         Spouse’s Monthly Gross Income (unless a martial offense)                 ________________
         Other Earnings: Commissions, Bonuses, Interest Income, etc,              ________________
         Contributions from Other People Living in Household                      ________________
         Unemployment/Workmen’s Compensation,
            Social Security, Retirements, etc,                                    ________________
         Other Income (be specific) _______________________                       ________________

                                 TOTAL MONTHLY GROSS INCOME                                                             $____________________

    Monthly Expenses:
        A. Living Expenses                                                        $________________
            Rent/Mortgage                                                          ________________
           Total Utilities: Gas, Electricity, Water, etc                           ________________
           Food                                                                    ________________
           Clothing                                                                ________________
           Health Care/Medical                                                     ________________
           Insurance                                                               ________________
           Car Payment(s)/Transportation Expenses                                  ________________
           Loan Payment(s)                                                         ________________
*OPTIONAL
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                                                      AFFIDAVIT OF SUBSTANTIAL HARDSHIP

       Monthly Expenses:(cont’d page1)
             Credit Card Payment(s)                                                 ________________
             Educational/Employment Expenses                                        ________________
             Other Expenses (be specific) _____________________                     ________________
             _____________________________________________                          ________________
                             Sub-Total                                                                         A $____________________

        B.     Child Support Payment(s)/Alimony                                     $________________
                            Sub-Total                                                                          B $____________________
        C.     Exceptional Expenses                                                 $________________

                         TOTAL MONTHLY EXPENSES (add subtotals from A & B monthly only)                           $____________________

         Total Gross Monthly Income Less total monthly expenses:
                                         DISPOSABLE MONTHLY INCOME                                                $____________________

4.    LIQUID ASSETS:
           Cash on Hand/Bank (or otherwise available such as stocks,
           bonds, certificates of deposit)                                        $_________________
           Equity in Real Estate (value of properly less what you owe)             _________________
           Equity in Personal Property, etc. (such as the value of
           motor vehicles, stereo, VCR, furnishing, jewelry, tools,                 _________________
           guns, less what you owe)
           Other (be specific)
           Do you own anything else of value?       Yes No
           (land, house, boat, TV, stereo, jewelry)                                _________________
           If so, describe _____________________________________
           _________________________________________________
                                  TOTAL LIQUID ASSETS                                                              $____________________


5.    Affidavit/Request
      I swear or affirm that the answers are true and reflect my current financial status. I understand that a false statement or answer to
      any question in the affidavit may subject me to the penalties of perjury, I authorize the court or its authorized representative to obtain
      records of information pertaining to my financial status from any source in order to verify information provide by me. I further
      understand and acknowledge that, if the court appoints an attorney to represent me, the court may require me to pay all or part of
      the fees and expenses of my court-appointed counsel,

       Sworn to and subscribed before me this
                                                                                  ________________________________________________
                                                                                  Affiant’s Signature
       _________ day of ___________________, __________

       _____________________________________________                               _________________________________________________
       Judge/Clerk/Notary                                                          Print or Type Name
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State of Alabama                                                                                     Case Number
Unified Judicial System                        ORDER APPOINTING
Form C-10B                Rev.2/95
                                              COUNSEL (INDIGENT)
IN THE___________________________________________COURT OF ______________________________________________, ALABAMA
                  (Circuit, District, or Municipal)                   (Name of County or Municipality)

STYLE OF CASE: ______________________________________________v. ___________________________________________________
                                       Plaintiff(s)                                           Defendant
  STATE OF ALABAMA

  Municipality of _________________________________________________ v. ________________________________________________
                                                                            Defendant
  IN THE MATTER OF _____________________________________________________________________________, a child



  IT IS, THEREFORE, ORDERED AND ADJUDGED BY THIS COURT AS FOLLOWS:
       Affiant is not indigent and request is DENIED.
       Affiant is partially indigent and able to contribute monetarily towards his defense; therefore, defendant is
          ordered to pay $_________________ toward the anticipated cost of appointed counsel. This amount is to be
         paid to the Clerk of Court or as otherwise ordered and disbursed as follows:


     _____________________________________________________________________________________________________
     _____________________________________________________________________________________________________
     Affiant is indigent and request is GRANTED.
     The prepayment of docket fees is waived.

   IT IS FURTHER ORDERED AND ADJUDGED that ____________________________________________________________,
   is hereby appointed as counsel to represent affiant.        (Name of Attorney)

   IT IS FURTHER ORDERED AND ADJUDGED that the court reserves the right and may order reimbursement of
   attorney’s fees and expenses, approved by the court and paid to the appointed counsel, and costs of court.
   Done this________________________ day of ________________________________________, __________


                                                                           ________________________________________________
                                                                           Judge
